                Case 4:14-cr-00232-DPM                       Document 1052           Filed 02/10/17             Page 1 of 4
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                                                                                                                           FILED
                                                                                                                        U.S. DISTRiCT COURT
             Sheet I                                                                                                EASTERN DISTRICT ARKANSAS


                                                                      FEB 10 2017
                                     UNITED STATES DISTRICT COURJAMESW.   0       , LERK
                                                          Eastern District of Arkansas                     By:,---+-1-+-+--k--::::-;::-;:;-;:::'7";':-;::;v-

         UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                             v.                                          (For Revocation of Probation or Supervised Release)
                    Misty Hoggard

                                                                         Case No. 4:14-cr-232-DPM-32
                                                                         USM No. 29005-009
                                                                          Kim Driggers
                                                                                                 Defendant's Attorney
THE DEFENDANT:
ri/ admitted guilt to violation of condition(s)         Gen., Std., and Spec.            of the term of supervision.
D   was found in violation of condition(s)             - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                                     Violation Ended
1 & 2 (Gen. & Std. 7)             Using a controlled substance, a Grade C violation

                                  a Grade C violation.                                                          06/22/2016

3 & 4 (Spec. & Std. 3)            Failing to comply with durg testing, a Grade C violation                      07/11/2016

                                  (continued on next page)

       The defendant is sentenced as provided in pages 2 through             4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
rg' The defendant has not violated condition(s)          5 (Std. 5)          and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic c1rcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3782                       02/09/2017
                                                                                             Date of Imposition of Judgment
Defendant's Year of Birth:           1979

City and State of Defendant's Residence:                                                           Signatfuf Judge
Sherwood, Arkansas
                                                                          D.P. Marshall Jr.                               U.S. District Judge
                                                                                                Name and Title of Judge

                                                                                   I0      ~/.;r V<T\/l.Y          ;).O l 7
                                                                                                       1    Date
                 Case 4:14-cr-00232-DPM                        Document 1052      Filed 02/10/17        Page 2 of 4
AO 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet IA
                                                                                                 Judgment-Page   _.1:;2_ of     4
DEFENDANT: Misty Hoggard
CASE NUMBER: 4:14-cr-232-DPM-32

                                                        ADDITIONAL VIOLATIONS

                                                                                                                        Violation
Violation Number                 Nature of Violation                                                                    Concluded
                                  (Continued from previous page.)



6 (Std. 6)                        Failing to notify the probation officer at least ten days prior to a change in

                                 residence, a Grade C violation                                                        07/21/2016
                    Case 4:14-cr-00232-DPM                        Document 1052      Filed 02/10/17           Page 3 of 4
  AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                 Judgment -   Page _   _,.3_ of   4
  DEFENDANT: Misty Hoggard
  CASE NUMBER: 4:14-cr-232-DPM-32


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
6 months.




     ti The court makes the following recommendations to the Bureau of Prisons:
1) that Hoggard participate in drug treatment programs during incarceration; and
2) that Hoggard serve the remainder of her sentence at the CCA West Tennessee Detention Facility in Mason, Tennessee.



     ti The defendant is remanded to the custody of the United States Marshal.
     D      The defendant shall surrender to the United States Marshal for this district:
            D     at   - - - - - - - - - D a.m.                       D p.m.    on
            D     as notified by the United States Marshal.

      D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                     to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STA TES MARSHAL



                                                                               By - - - - DEPUTY
                                                                                          - - -UNITED
                                                                                                 - - -STATES
                                                                                                       ---    -------
                                                                                                             MARSHAL
                  Case 4:14-cr-00232-DPM                        Document 1052       Filed 02/10/17          Page 4 of 4
  AO 2450     (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

                                                                                                    Judgment-Page      4    of          4
  DEFENDANT: Misty Hoggard
  CASE NUMBER: 4:14-cr-232-DPM-32
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
None.



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)'. unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  D     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  D     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judwent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
  JO)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant sh~ll 1,1ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the perm1ss10n of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
